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                               UNITED STATES DISTRICT COURT

                              NORTHERN DISTRICT OF CALIFORNIA


 SHAHRIAR JABBARI, et al.,                         Case No. 15-cv-02159-VC
                Plaintiffs,
                                                   ORDER ON REMAND
         v.
                                                   Re: Dkt. No. 368
 WELLS FARGO & CO., et al.,
                Defendants.



       This order responds to the Circuit’s request to further explain the Court’s conclusion that

the Chernavsky Plaintiffs’ objection regarding the claims period did not substantially benefit the

class. First, although it’s true that concern with the claims period was among the many

objections the Chernavsky Plaintiffs had raised, this Court would have extended the claims

period on its own. Second, in any event, the claims period would have been extended as a result

of involvement of the Attorneys General. Third, although it’s reasonable to assume that the

extension of the claims period conferred a benefit on the class, any conclusion about the extent

of that benefit would be speculative.

       Generally speaking, the Chernavsky Plaintiffs’ participation in the settlement approval

process was more of a hinderance than a help. The objection regarding the claims period was one

of countless objections they made, some of which were exceedingly minor and some of which

were frivolous. Their approach of throwing as many pieces of mud on the wall as possible in the

hope that one might stick suggested that the intent behind their involvement was more parasitic

than productive. And their involvement was unnecessary, because there was no sign throughout
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the process that class counsel or the class representatives were undermining the interests of the

class; to the contrary, they vigilantly protected the interests of the class all along the way.

       IT IS SO ORDERED.


Dated: June 6, 2020
                                               ______________________________________
                                               VINCE CHHABRIA
                                               United States District Judge




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